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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

                                              )
TONY SAVAGE and                               )
BEVERLY SAVAGE,                               )
                                              )
       Plaintiffs,                            )
                                              )               No. 2:16-cv-02573-JPM-cgc
v.                                            )
                                              )
SHELTER INSURANCE COMPANIES                   )
d/b/a SHELTER MUTUAL INSURANCE                )
d/b/a SHELTER INSURANCE                       )
d/b/a SHELTER GENERAL INSURANCE               )
COMPANY,                                      )
                                              )
       Defendant.                             )
                                              )
                                              )

                                        JUDGMENT


JUDGMENT BY COURT. This action having been removed to this Court on July 13, 2016
(ECF No. 1), the Court having dismissed all claims in this action on summary judgment,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with
the Order Granting Defendant’s Motion for Summary Judgment (ECF No. 47), filed July 5,
2017, and pursuant to Federal Rules of Civil Procedure 56, 5(b)(2), 6(d), 72(b)(2), all claims
by Plaintiffs against Defendant are hereby DISMISSED. Plaintiffs’ claims are hereby
DISMISSED with prejudice.



IT IS SO ORDERED, this 5th day of July, 2017.

                                              /s/ Jon P. McCalla
                                             JON P. McCALLA
                                             UNITED STATES DISTRICT COURT JUDGE




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